Case 3:17-cv-00072-NKM-JCH Document 215 Filed 02/01/18 Page 1lof2 Pageid#: 1123

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

vs. Case No: 3:17CV00072

. Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

 

1, Tony Klein, a Private Process Server, being duly sworn, depose and say:
That | have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, Plaintiffs’ Jury

Demand, Motion for Pro Hac Vice Admission of Roberta A. Kaplan, and Proposed Order Granting Pro Hac Vice Admission of
Roberta A. Kaplan in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 12/21/2017 at 2:02 PM, I served Fraternal Order of the Alt-Knights c/o Kyle Sean Chapman with the Summons, Civil
Cover Sheet with Addendum, Complaint, Plaintiffs' Jury Demand, Motion for Pro Hac Vice Admission of Roberta A. Kaplan, and
Proposed Order Granting Pro Hac Vice Admission of Roberta A. Kaplan at Alameda County Superior Court, 1225 Fallon Street,
Oakland, California 94612 by serving Kyle Sean Chapman, authorized to accept.

Kyle Sean Chapman is described herein as:

Gender: Male Race/Skin: White Age: 40's Weight: 240 Height: 61" Hair: Dark Brown Glasses: No

1 do solemnly declare and affirm under penalty of perjury that | have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

ppp Ay;

Executed On Tony Klein U

 

Client Ref Number:N/A
Job #: 1534659

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Virginia

ELIZABETH SINES, SETH WISPELWEY, MARISSA
BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH
PEARCE, MARCUS MARTIN, JOHN DOE, JANE

DOE 1, JANE DOE 2, and JANE DOE 3

 

Plaintiffs)
Vv.

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA, ANDREW
ANGLIN, MOONBASE HOLDINGS, LLC, et al.

Civil Action No, 3:17-cv-00072-NKM

 

Nee ee we ae ee ae ee ae

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Fraternal Order of the Alt-Knights
clo Kyle Sean Chapman
52 Lycett Circle
Daly City, CA 94015

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Robert T. Cahill, Esq., Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190

Tel: (703) 456-8000 - Email: rcahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

JULIA C. DUDLEY, CLERK OF COURT
Ip

x

" si Joyce C. Jones
Deputy, Clerk.

 

Date: October 19, 2017

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